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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                     BEAUMONT DIVISION

JOHNNY RAY MARTIN                                §

VS.                                              §                  CIVIL ACTION NO. 1:20cv64

LIEUTENANT MORRIS, ET AL.                        §

                 MEMORANDUM ORDER ADOPTING THE MAGISTRATE
                    JUDGE’S REPORT AND RECOMMENDATION

       Plaintiff Johnny Ray Martin, an inmate at the Jefferson County Correctional Facility,

proceeding pro se, brought this civil rights suit pursuant to 42 U.S.C. § 1983.

       The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

Judge, at Beaumont, Texas, for consideration pursuant to applicable laws and orders of this court.

The magistrate judge recommends this action be dismissed without prejudice. The court has

received and considered the Report and Recommendation of United States Magistrate Judge filed

pursuant to such referral, along with the record, pleadings and all available evidence. No objections

to the Report and Recommendation of United States Magistrate Judge were filed by the parties.

                                            ORDER

       Accordingly, the findings of fact and conclusions of law of the magistrate judge are correct

and the report of the magistrate judge is ADOPTED. A final judgment will be entered in this case

in accordance with the magistrate judge’s recommendations.

      SIGNED this the 21 day of October, 2020.




                                     ____________________________
                                     Thad Heartfield
                                     United States District Judge
